      Case 2:22-cv-02095-JAD-DJA Document 48 Filed 07/17/23 Page 1 of 5




 1   F. Christopher Austin (SBN 6559)
     WEIDE & MILLER, LTD.
 2   10655 Park Run Drive, Suite 100
     Las Vegas, Nevada 89144
 3   Telephone: (702) 382-4804
     Email: caustin@weidemiller.com
 4
     Jeremy P. Oczek (Pro hac vice)
 5   BOND, SCHOENECK & KING, PLLC
     200 Delaware Avenue
 6   Buffalo, New York 14202
     Telephone: (716) 416-7000
 7   Email: jpoczek@bsk.com

 8   Jonathan L. Gray (Pro hac vice)
     BOND, SCHOENECK & KING, PLLC
 9   One Lincoln Center
     Syracuse, New York 13202
10   Telephone: (315) 218-8500
     Email: jlgray@bsk.com
11
     Counsel for Plaintiffs
12   Signify North America Corporation
     and Signify Holding B.V.
13

14

15                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
16
     SIGNIFY NORTH AMERICA CORPORATION                    Case 2:22-cv-02095-JAD-DJA
17   and
     SIGNIFY HOLDING B.V.                                 JOINT CLAIM
18                                                        CONSTRUCTION AND
                  Plaintiffs,                             PREHEARING STATEMENT
19
            v.                                            [D. Nev. LPR 1-15]
20
     LEPRO INNOVATION INC,
21   LE INNOVATION INC,
     INNOVATION RULES INC.,
22   HOME EVER INC., and
     LETIANLIGHTING, INC.,
23
                  Defendants.
24

25
            Pursuant to Local Patent Rule 1-15 and the Court’s Scheduling Order (ECF No. 37),
26
     Plaintiffs and Defendants submit the following Joint Claim Construction and Prehearing
27
     Statement.
28

                                               -1-
                   JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
      Case 2:22-cv-02095-JAD-DJA Document 48 Filed 07/17/23 Page 2 of 5




 1           Plaintiffs Signify North America Corporation and Signify Holding B.V. (collectively,

 2   “Signify”), and Defendants LEPRO Innovation Inc., LE Innovation Inc, Innovation Rules Inc.,

 3   Home Ever Inc., and Leitianlighting, Inc. (collectively, “Defendants”) (together, “the parties”), by

 4   and through their attorneys of record, hereby submit the following joint claim construction

 5   prehearing statement for certain terms/phrases in U.S. Patent No. 7,014,336 (“the ’336 Patent”),

 6   U.S. Patent No. 7,038,399 (“the ’399 Patent”), U.S. Patent No. 7,348,604 (“the ’604 Patent”), U.S.

 7   Patent No. 7,352,138 (“the ’138 Patent”), U.S. Patent No. 8,063,577 (“the ’577 Patent”), U.S.

 8   Patent No. 9,709,253 (“the ’253 Patent”), and U.S. Patent No. RE 49,320 (“the ’320 Patent”)

 9   (collectively, the “Patents-in-Suit”), as well as the parties’ respective evidence in support of those

10   constructions.

11           A.       LPR 1-15(a): Agreed Terms/Phrases

12           The parties do not agree on a construction for any of the claim terms contended to require

13   construction. The parties agree that any term that is not identified herein as indefinite or requiring

14   a construction shall have its plain and ordinary meaning as understood by a person of ordinary

15   skill in the context of the intrinsic record.

16           B.       LPR 1-15(b): Disputed Terms/Phrases

17           The parties dispute the construction of the terms/phrases as set forth in Appendix A. The

18   tables therein include each party’s proposed construction of each disputed term/phrase, together

19   with an identification of all references from the specification or prosecution history that support
20   that construction, and an identification of any extrinsic evidence known to the party on which it

21   intends to rely either to support its proposed construction or to oppose the other party’s proposed

22   construction, including dictionary definitions, prior art, and testimony of expert witnesses. The

23   parties reserve the right to rely on any of the opposing cited evidence to support its proposed

24   constructions.

25           C.       LPR 1-15(c): Significant Disputed Terms/Phrases

26           The parties respectfully submit that all disputed claim terms/phrases are significant to the

27   resolution of the case as each disputed claim term/phrase is contained in independent claims

28   (rather than dependent claims) of the Patents-in-Suit.

                                                     -2-
                      JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
      Case 2:22-cv-02095-JAD-DJA Document 48 Filed 07/17/23 Page 3 of 5




 1          The parties agree that the following term would be claim dispositive:

 2                  “background noise” (claims 132 and 186 of the ’336 Patent)
 3          D.       LPR 1-15(d): Length of Time for Claim Construction Hearing

 4          The parties respectfully request that each side be given three and one half (3.5) hours at

 5   the Claim Construction hearing for a total of seven (7) hours. The parties respectfully request that

 6   Claim Construction Hearing be scheduled the day after the Claim Construction Tutorial (as set

 7   forth in the section below).

 8          E.       LPR 1-15(e): Claim Construction Tutorial

 9          The parties respectfully request that each side be given one (hour) to present a short

10   summary and explanation of the technology at issue for a total of two (2) hours. The parties believe

11   that it would be beneficial for the Claim Construction Tutorial to be scheduled the day before the

12   Claim Construction Hearing.

13          F.       LPR 1-15(f): Proposed Dates for Claim Construction Hearing

14          The parties propose the following dates on which a Claim Construction Hearing could be

15   held during the weeks of October 2-6 and October 16-20, 2023. Pursuant to LPR 1-15(f), these

16   dates are within 60 days of the date by which claim construction briefing is to be completed.

17          G.       LPR 1-15(g): Witnesses

18          Signify may rely on the testimony of Dr. Regan Zane, a non-party expert witness, in

19   support of certain of Signify's proposed constructions and in response to certain of Defendants’
20   proposed constructions in connection with the ’577 Patent, including, but not limited to,

21   information to be provided in declarations, depositions, or live testimony during the Signify's

22   claim construction hearing. Specifically, Signify may present Dr. Zane's opinion regarding the

23   meaning of certain claim terms in the ’577 Patent to one of ordinary skill in the art and the accuracy

24   of Defendants’ proposed constructions versus Signify's proposed constructions based on the

25   intrinsic and extrinsic evidence listed in this chart, as well as Dr. Zane's experience, expertise, and

26   industry knowledge.

27          Defendants do not believe testimonial evidence from non-party expert witnesses is

28   necessary to resolve the parties’ claim construction dispute over certain claim terms in the ’577

                                                      -3-
                      JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
      Case 2:22-cv-02095-JAD-DJA Document 48 Filed 07/17/23 Page 4 of 5




 1   Patent. However, to the extent that Signify elects to proffer testimony including declarations,

 2   depositions, or live testimony during the claim construction hearing from non-party expert witness

 3   Dr. Regan Zane to support Signify’s claim construction positions, Defendants reserve the right to

 4   call Dr. Peter Shackle, a non-party expert witness, to offer his opinion including declarations,

 5   depositions, or live testimony at the claim construction hearing. Dr. Shackle may opine on the

 6   understanding by one of ordinary skill in the art of certain claim terms in the ’577 Patent, and the

 7   parties’ claim construction positions based on the intrinsic and extrinsic evidence that the Court

 8   may admit and examine.

 9          H.      LPR 1-15(g): Claim Charts with Terms to Be Construed

10          Attached hereto is Appendix B which contains the claim language of the asserted claims

11   of the Patents-in-Suit, with disputed terms/phrases to be construed in bold, and the parties’

12   proposed constructions.

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

                                                    -4-
                     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
      Case 2:22-cv-02095-JAD-DJA Document 48 Filed 07/17/23 Page 5 of 5




 1   Dated: July 17, 2023

 2   Respectfully submitted,                  Respectfully submitted,

 3   /s/ F. Christopher Austin                /s/ Akke Levin

 4   F. Christopher Austin (SBN 6559)         Akke Levin (SBN 9102)
     WEIDE & MILLER, LTD.                     GREENBERG TRAURIG, LLP
 5   10655 Park Run Drive, Suite 100          10845 Griffith Peak Dr., Suite 600
     Las Vegas, Nevada 89144                  Las Vegas, Nevada 89135
 6   Telephone: (702) 382-4804                Telephone: (702) 792-3773
     Email: caustin@weidemiller.com           Facsimile: (702) 792-9002
 7                                            Email: Akke.Levin@gtlaw.com
     Jeremy P. Oczek (Pro hac vice)
 8   BOND, SCHOENECK & KING, PLLC             Hua Chen (Pro hac vice)
     200 Delaware Avenue                      SCIENBIZIP, P.C.
 9   Buffalo, New York 14202                  550 South Hope Street, Suite 2825
     Telephone: (716) 416-7000                Los Angeles, California 90071
10   Email: jpoczek@bsk.com
                                              COUNSEL FOR DEFENDANTS
11   Jonathan L. Gray (Pro hac vice)          LEPRO Innovation Inc.,
     BOND, SCHOENECK & KING, PLLC             LE Innovation Inc.,
12   One Lincoln Center                       Innovation Rules Inc.,
     Syracuse, New York 13202                 Home Ever Inc., and
13   Telephone: (315) 218-8500                Leitianlighting, Inc.
     Email: jlgray@bsk.com
14
     COUNSEL FOR PLAINTIFFS
15   Signify North America Corporation and
     Signify Holding B.V.
16

17

18

19
20

21

22

23

24

25

26

27

28

                                             -5-
                     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
